Case 8:23-cv-02396-KKM-AAS Document 19 Filed 02/08/24 Page 1 of 13 PageID 123



                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


SAJ GROUP, LLC,

       Plaintiff,

v.                                                            Case No: 8:23-cv-2396-KKM-AAS

OETTINGER DAVIDOFF AG and
DAVIDOFF OF GENEVA USA INC.,

       Defendants.


             PATENT CASE MANAGEMENT AND SCHEDULING ORDER

        Having considered the parties’ Case Management Report, see Fed. R. Civ. P. 26(f) and
 Local Rule 3.02(c), the Court enters this Order whose provisions will be strictly enforced.


        1)    Parties are directed to meet the deadlines below:


             Deadline for Initial Disclosures                                    1/29/2024
             Mediation Notice Deadline                                           2/22/2024
             Disclosure of Infringement Contentions                               2/5/2024
             Disclosure of Non-Infringement and Invalidity Contentions            3/4/2024
             Initial Identification of Disputed Claim Terms                      3/18/2024
             Third Party Joinder / Amend Pleading                                 4/5/2024
             Proposed Claim Term Constructions                                   4/15/2024
             Joint Claim Construction Statement                                  4/29/2024
             Technology Tutorial Conference                                         N/A
             Cross Claim Construction Briefs                                     5/27/2024
             Cross Response Briefs                                               6/10/2024
             Joint Pre-Hearing Statement                                         6/17/2024
             Claim Construction Hearing                                    6/24/2024 at 9:00 a.m.
Case 8:23-cv-02396-KKM-AAS Document 19 Filed 02/08/24 Page 2 of 13 PageID 124




            Disclosure of Intent to Rely on Advice of Counsel as a               7/15/2024
            Defense; Amendment of Infringement, Non-Infringement
            and Invalidity Contentions; and Disclosure of Expert
            Reports on Issues Where the Party Bears the Burden of
            Proof
            Disclosure of Rebuttal Expert Reports                                 8/8/2024
            Fact Discovery Deadline                                               9/6/2024
            Expert Discovery Deadline                                            9/20/2024
            Mediation Deadline                                                   10/4/2024
            Dispositive and Daubert Motions                                      10/21/2024
            Motions In Limine                                                     4/8/2025
            Parties’ Deadline for Filing Joint Final Pretrial Statement           5/6/2025
            Joint Pretrial Statement                                              5/6/2025
            Pretrial Conference                                                  5/13/2025
            Trial Briefs                                                         5/20/2025
            Trial Term                                                            June 2025


       2)    Parties are further directed to meet the pretrial disclosure requirements and
             deadlines in Fed. R. Civ. P. 26(a)(3) and to adhere timely to all requirements in
             Local Rule 3.06 concerning Final Pretrial Procedures, as supplemented herein at ¶
             6.


       3)    This case is referred to court-annexed mediation in accordance with the rules
             governing mediation set forth in Chapter Four of the Local Rules. The parties
             shall select a Mediator, and counsel for Plaintiff is designated as Lead Counsel to
             coordinate the scheduling of mediation. The list of certified mediators is available
             on the internet at www.flmd.uscourts.gov under “For Lawyers/Mediation and
             Settlement.” The list is not exclusive, and any certified mediator is permissible.
             Lead counsel must file a Mediation Notice which (a) identifies the selected
             Mediator and includes address, telephone, and facsimile information, and (b) sets
             the date and place for the mediation conference by the above-designated date. If
             the parties fail to select a Mediator or do not notify the Court of such selection by
Case 8:23-cv-02396-KKM-AAS Document 19 Filed 02/08/24 Page 3 of 13 PageID 125




             the above-designated date, the Court may sua sponte and without further notice
             select an individual to serve as Mediator and issue the appointment. The
             mediation conference may be conducted any time on or before the above-
             designated date.


        4)   Last Date to Mediate: The parties shall complete the mediation conference on or
             before the mediation date set forth earlier in the above table. Neither the mediator
             nor the parties have authority to continue the mediation conference beyond this
             date except on express order of the Court. In any complex case or case involving
             multiple parties, the mediator has the authority to conduct the mediation in a series
             of sessions and in groups of parties so that mediation is complete by the last date to
             mediate.


        5)   Parties will please note that motions to amend any pleading or a motion for
             continuance of any pretrial conference, hearing or trial filed after issuance of this
             Case Management and Scheduling Order are disfavored. See Fed. R. Civ. P.
             16(b)(4); Local Rule 3.08(a).


        6)   PROCEDURES FOR PATENT CASES:
               a)       Disclosure of Infringement Contentions: A party making infringement
                        contentions must serve on the opposing party, but not file with the
                        Court, disclosures of the following information:
                        i)      The party shall disclose each asserted claim of infringement.
                        ii)     The party shall disclose the identity of each accused device. 1 This
                                identification shall be as specific as possible. The party shall
                                identify each accused device by name or model number, if known.
                        iii)    For each element of each asserted claim, the party shall disclose
                                its contentions as to how each element of each claim is found in
                                each accused device.


1
  The Court refers to every allegedly infringing device, method, or service as an “accused device”
throughout this Order.
Case 8:23-cv-02396-KKM-AAS Document 19 Filed 02/08/24 Page 4 of 13 PageID 126




                  iv)    For each element of each asserted claim that the party contends is
                         governed by 35 U.S.C. § 112 ¶ 6, the party shall disclose the
                         function and structure of each element and where the function
                         and structure is disclosed in the specification. The party shall also
                         disclose the identity of the structure(s), act(s), or material(s) in
                         each accused device that performs the claimed function.
                  v)     The party shall disclose whether each element of each asserted
                         claim is claimed to be literally present or present under the
                         doctrine of equivalents in the accused device.
            b)    Disclosure of Non-Infringement and Invalidity Contentions: Any
                  party asserting non-infringement, invalidity, or unenforceability claims or
                  defenses must serve on the opposing party, but not file with the Court,
                  disclosures containing the following:
                  i)     The party shall disclose the factual basis for any allegation that it
                         does not infringe the patent(s)-in-suit either literally or under the
                         doctrine of equivalents and shall identify what elements it believes
                         are not present in the accused devices and why an equivalent is
                         not present.
                  ii)    The party shall disclose each item of prior art that forms the basis
                         for any allegation of invalidity by reason of anticipation or
                         obviousness. As for prior art that is a document, the party shall
                         provide a copy of the document to the opposing party. As to prior
                         art that is not documentary in nature, such prior art shall be
                         identified with particularity (by the “who, what, when, and
                         where,” etc.) as to the publication date, sale date, use date, source,
                         ownership, inventorship, conception, and any other pertinent
                         information that forms the basis of the party’s invalidity
                         contentions.
                  iii)   The party shall disclose whether each item of prior art anticipates
                         each asserted claim or renders it obvious. If a combination of
                         items of prior art makes a claim obvious, then each such
Case 8:23-cv-02396-KKM-AAS Document 19 Filed 02/08/24 Page 5 of 13 PageID 127




                         combination and the reason why a person of ordinary skill in the
                         art would combine such items shall be identified.
                  iv)    For each element of each asserted claim that the party contends is
                         governed by 35 U.S.C. § 112 ¶ 6, the party shall disclose the
                         function and structure of each element and where the function
                         and structure is disclosed in the specification. The party shall also
                         disclose where the prior art identifies the structure(s), act(s), or
                         material(s) in each prior art that performs the claimed function.
                  v)     For any grounds of invalidity based on 35 U.S.C. § 112 or other
                         defenses, the party shall provide its reasons and evidence as to
                         why the claims are invalid or the patent unenforceable, making
                         specific reference to relevant portions of the specification or
                         claims or prosecution history. Such positions shall be made in
                         good faith.
            c)    Initial Identification of Disputed Claim Terms: Lead counsel for the
                  parties must exchange their respective contentions of the claim terms that
                  may need to be interpreted by the Court by the above-designated date.
                  This exchange must be provided in writing. The parties should be
                  aware that, absent leave of Court, construction of more than ten (10)
                  claim terms is highly disfavored and will not be permitted except in
                  extenuating circumstances.
            d)    Proposed Claim Term Constructions: By the above-designated date,
                  the parties shall exchange, but not file with the Court, a list of each
                  party’s proposed interpretation of the disputed claim terms, along with
                  citations to the intrinsic evidence (e.g., patent prosecution history,
                  dictionary definitions, etc.) that support its interpretation, along with a
                  brief summary of any testimony that is expected to be offered to support
                  that interpretation.
            e)    Disclosure of Intent to Rely on Advice of Counsel as a Defense: By
                  the above-designated date, any party that will rely on advice of counsel as
                  a defense must serve on the opposing party disclosures of the following:
Case 8:23-cv-02396-KKM-AAS Document 19 Filed 02/08/24 Page 6 of 13 PageID 128




                  i)      The party shall produce or make available for inspection and
                          copying documents relating to the opinion(s) of counsel as to
                          which the party agrees the attorney-client privilege has been
                          waived.
                  ii)     The party shall serve on the opposing party a privilege log
                          identifying any other documents relating to the opinion(s) of
                          counsel, except those authored by counsel acting solely as trial
                          counsel, which the party withholds on the grounds of attorney-
                          client privilege or work product protection.
                  The Court will not permit any party that fails to make the above
                  disclosures relating to an opinion of counsel to rely on that opinion of
                  counsel at trial absent a stipulation of the parties.
            f)    Joint Claim Construction Statement: After exchanging the list
                  discussed above (under “Proposed Claim Term Constructions”), lead
                  counsel for the parties shall meet and confer in person by the above-
                  designated date about the claim terms in dispute. During this conference,
                  the parties shall narrow and finalize the claim terms that need to be
                  interpreted by the Court. If the parties determine that a claim
                  construction hearing is not necessary, they shall notify the Court in a
                  timely manner. The parties shall file a Joint Claim Construction
                  Statement, including intrinsic evidence, extrinsic evidence, and a
                  summary of expert testimony, if any. The parties shall submit to the
                  Court a chart with no more than ten (10) claim terms; each party’s
                  construction of each claim term; and the relevance of the construction of
                  each claim term for summary judgment. The joint claim construction
                  statement shall not exceed twenty-five (25) pages. The Court will not
                  permit the presentation of argument or testimony at trial, or in
                  connection with summary judgment motions, about any disputed claim
                  term that was not identified in the parties’ Joint Claim Construction
                  Statement, absent good cause.
            g)    Technology Tutorial Conference: If requested by the parties, or ordered
Case 8:23-cv-02396-KKM-AAS Document 19 Filed 02/08/24 Page 7 of 13 PageID 129




                  by the Court, a non-adversarial tutorial conference will be scheduled. At
                  the technology tutorial conference, the counsel for the parties shall
                  explain the technology at issue in the litigation, but they shall not pre-
                  argue their claim construction positions to the Court, except to point out
                  to the Court the context of the dispute.
            h)    Claim Construction Briefing: Parties shall file cross claim construction
                  briefs and cross reply briefs by the deadlines stated above. Each brief
                  shall not exceed thirty (30) pages without leave of Court.
            i)    Joint Pre-Hearing Statement: Lead counsel for the parties shall confer
                  about the claim construction hearing and file with the Court a Joint Pre-
                  Hearing Statement informing the Court of the claim terms that will be
                  discussed and the witnesses that will be called. The parties shall also
                  submit a four-column claim interpretation chart in the form of Exhibit A
                  (attached). The joint pre-hearing statement shall not exceed four (4)
                  pages, not including Exhibit A.
            j)    The claim construction hearing will last no longer than six (6) hours.
            k)    Amending       Infringement,      Non-Infringement,        and   Invalidity
                  Contentions: Amendments to infringement, non-infringement, or
                  invalidity contentions shall be made in accordance with Federal Rule of
                  Civil Procedure 26(e) upon learning that the contention is incomplete or
                  incorrect. Any amendment to a party’s infringement contentions must be
                  timely made but in no event later than thirty (30) days after the Court’s
                  claim construction ruling. Any amendment to a party’s non-infringement
                  or invalidity contentions must be timely made but in no event later than
                  fifty (50) days after the Court’s claim construction ruling.
            l)    Fact Discovery Deadline: Discovery shall begin immediately on all
                  discoverable issues and shall not be limited to claim interpretation.
                  Discovery shall include any relevant opinions of counsel if Defendant
                  intends to rely upon an opinion of counsel as a defense to a claim of
                  willful infringement.
            m)    Disclosure of Expert Reports on Issues Where the Party Bears the
Case 8:23-cv-02396-KKM-AAS Document 19 Filed 02/08/24 Page 8 of 13 PageID 130




                     Burden of Proof: On an issue where a party bears the burden of proof,
                     that party shall serve expert reports as required by Rule 26(a)(2).
                     Additionally, the parties will provide three (3) dates available for
                     depositions of experts.


       7)   A Pretrial Conference will be held before the undersigned in Courtroom 13B,
            801 North Florida Avenue, Tampa, Florida, on May 13, 2025, at 10:00 a.m.
            Parties are directed to meet the pretrial disclosure requirements and deadlines in
            Fed. R. Civ. P. 26(a)(3) and to adhere to all requirements in Local Rule 3.06
            concerning final pretrial procedures. The parties shall file a joint Pretrial
            Statement one week before the above-referenced pretrial conference date. Failure
            to do so may result in the imposition of sanctions. The parties shall file any
            motions in limine three weeks before the Pretrial Conference date and any
            response to a motion in limine one week before the Pretrial Conference date.
            Counsel who will act as lead trial counsel in the case and who is vested with full
            authority to make and solicit disclosure and agreements touching all matters
            pertaining to the trial must attend the Pretrial Conference. Counsel who do not
            attend the Pretrial Conference will not be permitted to participate in trial.


       8)   This case is set for Jury Trial during the term commencing June 2, 2025, before
            the undersigned. This June 2025 trial term shall include the entire month.
            Estimated length of trial: 5 days.
Case 8:23-cv-02396-KKM-AAS Document 19 Filed 02/08/24 Page 9 of 13 PageID 131




       9)   CONSENT TO TRIAL BY MAGISTRATE JUDGE:                            In accordance with
            28 U.S.C. § 636(c) and Fed. R. Civ. P. 73, the parties may consent to have a
            United States Magistrate Judge conduct any or all further proceedings in this case,
            including the trial. Parties are advised that a magistrate judge can provide certainty
            and flexibility in scheduling, including a date certain for trial—unlike the district
            court calendar that assigns only a trial month and is subject to frequent changes
            due to the Court’s criminal calendar. Parties may consent to proceed before a
            magistrate by filing a completed Form AO 85 “Notice, Consent, and Reference of
            a Civil Action to a Magistrate Judge,” which is available on the Court’s website
            under “Filing a Case/Forms/Civil Forms.” Consent is voluntary, and a party for
            any reason can decide not to consent and continue before the district judge
            without adverse consequences. See Fed. R. Civ. P. 73(b)(2).


       10) SUMMARY JUDGMENT PROCEDURES: The following procedures shall
            be followed by the parties:
              a)     A party’s claims or defenses for which summary judgment is sought shall
                     be presented in a single motion and incorporated memorandum of law
                     which, absent prior permission of the Court, shall not exceed twenty-
                     five (25) pages total. Multiple motions for summary judgment will not
                     be permitted. A violation of any of these directives will result in the
                     Court sua sponte striking a party’s motion for summary judgment and
                     incorporated memorandum of law without notice. Any record citations
                     should be to page and line of the filed materials.
              b)     Seven days before filing a motion for summary judgment, the moving
                     party shall confer in good faith with the party or parties against whom
                     summary judgment is sought for the purpose of narrowing the factual
                     issues in dispute. When filing the motion for summary judgment, the
                     moving party must file a separate “Joint Statement of Undisputed
                     Facts” (not exceeding 20 pages in length), agreed upon by all parties and
                     with citations to the record. If the parties anticipate filing cross-
                     motions for summary judgment, they should file a single “Joint
Case 8:23-cv-02396-KKM-AAS Document 19 Filed 02/08/24 Page 10 of 13 PageID 132




                    Statement of Undisputed Facts” to govern the cross-motions, which
                    shall certify that a good-faith conference occurred at least seven days
                    before the first-filed motion.
             c)     Any party opposing a summary judgment motion shall file a
                    memorandum of law in opposition no later than the time allotted
                    pursuant to Local Rule 3.01(c). To the extent that the party opposing a
                    motion for summary judgment disputes any facts asserted in the motion,
                    the opposing party must include those disputed facts, with citations to
                    the record, in the memorandum responding to the motion for summary
                    judgment. All material facts set forth by the moving party shall be
                    deemed admitted unless controverted by the opposing party in the
                    response to the motion for summary judgment.
             d)     Failure to respond to a motion for summary judgment shall be deemed
                    that the non-moving party does not oppose the motion and may result in
                    final judgment being entered without a trial or other proceeding.
             e)     Oral argument or hearings will generally not be held on the motion.
             f)     A violation of any of these directives will result in the Court sua sponte
                    striking a party’s motion for summary judgment without notice.


       11) Motion In Limine: All requests to limit evidence shall be included in a single
           motion not to exceed 25 pages without leave of Court. Responses are limited to 20
           pages without leave of Court.


       12) For jury trials, not later than fourteen (14) days prior to the date on which the
           trial term is set to commence, the parties shall file the following:
             a)     Proposed Jury Instructions: The parties must confer about the jury
                    instructions and submit to the Court: 1) all instructions that are
                    undisputed; 2) instructions proposed by the plaintiff but not acceptable to
                    the defense; and 3) instructions proposed by the defense but not
                    acceptable to the plaintiff. A complete set of all written Proposed Jury
                    Instructions shall bear a cover sheet with the complete style of the case
Case 8:23-cv-02396-KKM-AAS Document 19 Filed 02/08/24 Page 11 of 13 PageID 133




                     and appropriate heading designating the submitting party; there shall be
                     no more than one instruction per page and contain, at the end of each
                     such instruction, citation of authorities; they shall be sequentially
                     numbered and party-identified (e.g., Plaintiff’s Requested Instruction
                     No. 1). Counsel must email proposed jury instructions and verdict forms
                     in Microsoft Word (.doc or .docx) format to the chambers inbox. Include
                     the case number and case name in the subject line;
             b)      A concise (one paragraph preferably) joint statement of the nature of
                     the action to be used in providing a basic explanation of the case to the
                     jury venire;
             c)      Proposed Verdict Form; and
             d)      Proposed Questions for Voir Dire: The court conducts the initial voir
                     dire examination and parties should submit all proposed questions by the
                     above deadline. Counsel may submit additional follow-up questions after
                     the court examines the jury venire, but counsel will ordinarily not be
                     permitted to examine potential jurors.


       13) For jury trials, each party must file a Trial Brief not later than fourteen (14) days
           prior to the date on which the trial term is set to commence. The brief should
           include citations of authorities and arguments specifically addressing all disputed
           issues of law likely to arise at trial.


       14) For bench trials, not later than fourteen (14) days prior to the date on which the
           trial term is set to commence, each party shall file with the Clerk of Court a
           Trial Brief containing Proposed Findings of Fact and Conclusions of Law
           along with citations of authorities and arguments specifically addressing all
           disputed issues of law likely to arise at trial. Each proposed finding of fact shall be
           separately stated in numbered paragraphs and shall contain a detailed listing of the
           relevant material facts the party intends to prove, in a simple, narrative form. Each
           proposed conclusion of law shall contain a full exposition of the legal theories
           relied upon by counsel. After the conclusion of a bench trial, the court may allow
Case 8:23-cv-02396-KKM-AAS Document 19 Filed 02/08/24 Page 12 of 13 PageID 134




             the parties to file additional proposed findings of fact and conclusions of law. The
             proposed findings of fact and conclusions of law must be emailed to the chambers
             inbox in Microsoft Word (.doc or .docx) format.


        15) No later than 9:00 a.m. on the business day before trial, the parties shall provide
             to the Court an exhibit notebook containing marked copies of all exhibits. The
             parties may contact the courtroom deputy clerk to determine whether this
             requirement may be waived.


        16) SETTLEMENTS: Lead counsel (as designated above, Plaintiff’s counsel) shall
             immediately notify Chambers or the Courtroom Deputy Clerk if their case has
             settled. See Local Rule 3.09. Notices of settlement must be in writing. Failure to
             notify the Court of a settlement before noon on Friday, May 30, 2025, will result
             in the parties being assessed costs for the jury venire reporting.


         ORDERED in Tampa, Florida, on February 8, 2024.




 Attached:

 Exhibit A: Sample Claim Interpretation Chart
Case 8:23-cv-02396-KKM-AAS Document 19 Filed 02/08/24 Page 13 of 13 PageID 135




                                  EXHIBIT A


                    CLAIM INTERPRETATION CHART


   Disputed Claim   Plaintiff’s Proposed   Defendant’s          Court’s
       Term            Construction         Proposed          Construction
                                           Construction




    “Term 1”




    “Term 2”




    “Term 3”




    “Term 4”
